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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                      Plaintiff,

       v.                                          No. 1:23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,                          Oral Argument Requested
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                      Defendants.



                 NOTICE OF DEFENDANTS BAM TRADING SERVICES INC.
                     AND BAM MANAGEMENT US HOLDINGS INC.’S
                     MOTION TO DISMISS AMENDED COMPLAINT

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum in Support of Their

Motion to Dismiss, Defendants BAM Trading Services Inc. and BAM Management US Holdings

Inc. (together, “BAM”) will move before the Honorable Amy Berman Jackson, United States

Judge of the United States District Court for the District of Columbia, 333 Constitution Avenue,

N.W., Washington, DC 20001, for an Order dismissing the SEC’s claims as to secondary sales,

including Counts Eight, Nine and Ten of the Amended Complaint asserted against BAM in the

above-captioned matter.

       This motion is supported by the accompanying Memorandum of Law in Support of the

Motion to Dismiss and the accompanying exhibits numbered 1 through 19.




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Dated: November 4, 2024                         Respectfully submitted,



/s/ Daniel J. Davis                             /s/ George S. Canellos

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